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   8                            UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
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  11   OMAR RAMIREZ,                                Case No. EDCV 20-1348 RSWL (PVC)
  12                         Petitioner,
                                                                 JUDGMENT
  13          v.
  14   C. KOENIG, Acting Warden,
  15                         Respondent.
  16
  17          Pursuant to the Court’s Order Accepting Findings, Conclusions and
  18   Recommendations of United States Magistrate Judge,
  19          IT IS HEREBY ADJUDGED that the above-captioned action is dismissed without
  20   prejudice for lack of jurisdiction.
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  22   DATED: November 2, 2020                       /S/ RONALD S.W. LEW
                                                   RONALD S.W. LEW
  23                                               UNITED STATES DISTRICT JUDGE
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